Case 2:20-cv-01892-KJD-DJA Document 1-1 Filed 10/09/20 Page 1 of 23

EXHIBIT “A”

EXHIBIT “A”
Case 2:20-cv-01892-KJD-DJA Document 1-1 Filed 10/09/20 Page 2 of 23

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JUSTIN W. SMERBER, ESQ.

2 Nevada Bar No. 10761

BRANDON | SMERBER LAW FIRM

  

139 East Warm Springs .
4 Las Vegas, Nevada 89119 CASE NO: A-20-818664-C
(702) 380-0007 Department

5 || (702) 380-2964— facsimile
¢ | dsmerber(obsny. law

: ‘Attorneys for Plaintiff,
2a 8 DISTRICT COURT
SB. 8 CLARK COUNTY, NEVADA
a
<2 ° | JEAN KING, an individual,
22 1 || CASE NO.:
223 Plaintiff, DEPT. NO.:
a4

2 | VS,

13 SMITH’S FOOD & DRUG CENTERS, INC.
a/k/a THE KROGER CO., a foreign corporation,
14 |} DOE EMPLOYEES I through X, and ROE
BUSINESS ENTITIES I through X, inclusive,

 

 

 

  
 

=| 15
ei 16 Defendants.
SP? 5 :
—— OM COMPLAINT
Z. cE 18 — —
C) an Plaintiff, JEAN KING, by and through her counsel of record, JUSTIN SMERBER, ESQ..,
pit 19
ml 20 of the law firm BRANDON | SMERBER, complains and avers of the Defendants as follows:
< 31 PARTIES AND JURISDICTION
fled 22 7/1. The events and circumstances giving rise to this Complaint occurred in Clark County,
23 || Nevada on or about September 23, 2018.
24
2. Plaintiff, JEAN KING (hereinafter “Plaintiff), at all times material herein, is and was a
25
¥6 resident of Clark County, State of Nevada.
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Page i of 7
Case Number: A-20-818664-C
ia9 E, WARM SPRINGS RD.
LAS VEGAS, NEVADA 89119

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Case 2:20-cv-01892-KJD-DJA Document 1-1 Filed 10/09/20 Page 3 of 23

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a/k/a THE KROGER CO. (hereinafter Defendant), is a foreign corporation, duly licensed to}

|| Defendants Does I through X and Roe Corporations I through X are unknown to Plaintiff at this time,

‘herein. Plaintiff will seek leave of the Court to amend this Complaint to insert the true names and|

| ascertained and to join such Defendants in this action.

le. Jurisdiction is obtained, and venue is properly set in the Eighth Judicial District Court
for the State of Nevada.
FACTS
7. Plaintiff incorporates and realleges all foregoing paragraphs as though these paragraphs

110616 South Eastern Avenue, Henderson, Nevada, 89052, owned and operated by Defendant,

 

 

3. Upon information and belief, Defendant, SMITH’S FOOD & DRUG CENTERS, INC.

conduct business in the State of Nevada.
4, Plaintiff believes that SMITH’S FOOD & DRUG CENTERS, INC. a/k/a THE KROGER
CO., owned, operated, maintained and managed Horizon Market Place ~ Smith’s (“Smith’s”).

5, The true names and capacities, whether individual, corporate, associate, or otherwise of

who therefore sues said Defendants by such fictitious names. Plaintiff is informed and believes and|
therefore alleges that each of the Defendants designated as Does and Roe Entities are responsible in
some manner for the events and happenings referred to as alleged herein, whether by actually or have|
responsibility for creating the hazard, failmg to warn of the hazard, owning, managing, maintaining,

inspecting, cleaning, supervising, or controlling the premises, or in some other manner as set forth:

capacities of Doe Employees I through X and Roe Entities I through % when the same have been

were fully set forth herein.

8. On or about September 23, 2018, Plaintiff was a lawful patron of Smith’s located at

SMITH’S FOOD & DRUG CENTERS, INC. a/k/a THE KROGER CO.

 

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LAS VEGAS, NEVADA 39119

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Case 2:20-cv-01892-KJD-DJA Document 1-1 Filed 10/09/20 Page 4 of 23

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9, Plaintiff was proceeding through Smith’s, when she slipped and fell due to a grape
and/or other unknown substance or hazardous condition that was on the floor.
10. The fall caused Plaintiff to land violently on her outstretched arm, which resulted in

severe injury to ber entire right upper extremity

11. There were no warning or hazard notices posted in the area of the store where the
| Plaintiff fell.
12. At all times relevant herein, the Defendants were the owners, managers, mainiainers,

inspectors, supervisors or controllers of the premises and common areas whereupon Plaintiff
slipped and fell and was injured, generally known as Smith’s, located in Clark County, Nevada.
13. Plaintiff believes that at all times relevant herein, the Defendants and each of them were
the employees or agents of the other Defendants and were acting in the course and scope of their
employment or agency.

14. While walking down the aisle, Plaintiff encountered a grape and/or unknown and
unforeseen debris on the floor causing her to slip and fall causing severe and debilitating injuries

to herself.

} 15. Plaintiff believes that Defendants have a policy that all areas of Smith’s must be

routinely inspected, maintained, and cleaned so they are kept safe and in good repair or warnings

used to ensure patrons, such as Plaintiff, are not harmed.

16. Defendants' personnel did not use warnings to alert patrons, such as Plaintiff, of the
hazardous condition.

17. Plaintiff believes that the Defendants understand that a grape and/or debris on the floor
is a hazardous condition and can lead to a patron being tmyured.

18. On or about September 23, 2018, Defendants, and each of them, while in the course and}

!scope of their employment and agency with other Defendants, negligently failed to maintain,

 

 

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Case 2:20-cv-01892-KJD-DJA Document 1-1 Filed 10/09/20 Page 5 of 23

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| 22. Plaintiff incorporates and reallages all foregoing paragraphs as though these paragraphs

 

 

manage, inspect, clean, supervise, control, and repair the premises and further failed to warn
Plaintiff of hazards which resulted in Plaintiff's injuries.

19. As a direct and proximate result of the actions of Defendants, and each of them, Plaintiff}
suffered injuries to her body. These injuries caused and will continue to cause her mental and
physical pain and suffering in an amount of general damages in excess of $15,000.00.

20. As a direct and proximate result of the negligence of Defendants, and each of them,
Plaintiff had to employ physicians and other health care providers to examine, treat, and care for
her injuries. As a result, she incurred medical and incidental expenses in an amount of special
damages in excess of $15,000,00.

21. Asa direct and proximate result of the actions of Defendants, and each of them, Plaintiff
has had to incur expenses for attorneys’ fees and costs of suit herein and is entitled to

compensation for those expenditures in an amount to be determined by the Court.

FIRST CAUSE OF ACTION
Negligence

were fully set forth herein.

23, Defendant, SMITH’S FOOD & DRUG CENTERS, INC. a/k/a THE KROGER CO,, at
all times relevant herein, owned and was responsible for operating, controlling, and maintaining)
the premises where Plaintiff fell on or about September 23, 2018.

24, Defendants, and each of them, owed Plaintiff a duty of reasonable care to maintain the
floor at Smith’s in a reasonably safe condition.

20. Defendant’s and each of them, breached this duty by allowing an unknown substance or

hazardous condition to be present on the floor without warning or notice.

 

Page 4 of 7
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j27, Each Defendant DOE EMPLOYEE was the agent, servant and/or employee of

| damages in excess of $15,000.00.

32. At all times herein relevant, Plaintiff was a lawful patron at the Smith’s location in

 

 

Case 2:20-cv-01892-KJD-DJA Document 1-1 Filed 10/09/20 Page 6 of 23

26. Defendants, and each of them, were responsible for the presence of the unknown
substance or hazardous condition, or knew or should have known of the presence of the unknown

substance or hazardous condition prior tothe moment that Plaintiff fell.

Defendant, SMITH’S FOOD & DRUG CENTERS, INC. a/k/a THE KROGER CO,, acting within
the course and scope of such agency, service, and/or employment.

28. As a direct and proximate result of the actions of Defendants, and each of them, Plaintiff]
suffered injuries to her body. These injuries caused and will continue to cause her mental and
physical pain and suffering in an amount of general damages in excess of $15,000.00,

29, As a direct and proximate result of the negligence of Defendants, and each of them,
Plaintiff had to employ physicians and other health care providers to examine, treat, and care for

her injuries. As a result, she incurred medical and incidental expenses in an amount of special

30. Asa direct and proximate result of the actions of Defendants, and cach of them, Plaintiff
has had to incur expenses for attorneys’ fees and costs of suit herein and is entitled to

compensation for those expenditures in an amount to be determined by the Court.

SECOND CAUSE OF ACTION
Premises Liability

31. Plaintiff incorporates all foregoing paragraphs of the Complaint as though these

paragraphs were fully set forth herein.

Henderson, Nevada.
33. At all times relevant, Defendants and each of them were responsible for the condition

and safety on the floor at Smith’s, where Plaintiff fell on or about September 23, 2018.

 

Page 5 of 7
Case 2:20-cv-01892-KJD-DJA Document 1-1 Filed 10/09/20 Page 7 of 23

 
   
     

     
 

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WHEREFORE, Plaintiff, JEAN KING expressly reserves the right to amend this
2
3 complaint prior to or at the time of trial of this action to insert those items of damage not yet fully
4 |lascertainable, prays judgment against all Defendants, and each of them, as follows:
3 1, For general damages sustained by Plaintiff in an amount in excess of $15,000.00;
z) 2. For special damages sustained by Plaintiff in an amount in excess of $15,000.00;
z z 8 3. For the cost of suit and reasonable attorney's fees and costs;
Ba" 8
“20a 4
eS 9 4 For interest at the statutory rate; and
ans
ew & : .
< & Ez 10 |/5. For such other relief as the Court deems just and proper.
ee. iN DATED this 25" day of June, 2020.
ee - BRANDON | SMERBER LAW FIRM
py isf Jtstin SmerUer Ae oy.
ys 14 JUSTIN W. SMERBER, ESQ.
Nevada Bar No. 10761
' Is 139 East Warm Springs
=. = 16 Las Vegas, Nevada 89119
Ff) FE Attorneys for Plaintiff,
— > 17 JEAN KING
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Page 7 of 7

 

 

 
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Case 2:20-cv-01892-KJD-DJA Document 1-1 Filed 10/09/20 Page 8 of 23

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| L.smerber@bsnv law

 

 

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BRANDON | SMERBER LAW FIRM

 

139 East Warm Springs
Las Vegas, Nevada 89119 CASE NO: A-20-818664-C
(702) 380-0007 Department 8

Attorneys for Plaintiff,
JEAN KING
DISTRICT COURT
CLARK COUNTY, NEVADA

JEAN KING, an individual,
CASE NO:
Plaintiff, DEPT. NO.:

vs.
SMITH’S FOOD & DRUG CENTERS, INC. DEMAND FOR JURY TRIAL
a/k/a THE KROGER CO., a foreign corporation,
DOE EMPLOYEES I through X, and ROE
BUSINESS ENTITIES I through X, inclusive,

Defendants.

 

 

COMES NOW, Plaintiff, JEAN KING, by and through her attorney of record, JUSTIN
W. SMERBER, ESQ., of BRANDON | SMERBER LAW FIRM, and hereby demands a Jury
Trial in the above-entitled action.

DATED this 25" day of June, 2020.

BRANDON | + SMERBER LAW FIRM

 

JU STIN W. SMERBER, ‘ESQ.
Nevada Bar No. 10761

139 Hast Warm Springs

Las Vegas, Nevada 89119
Attorneys for Plaintiff,

JEAN KING

 

Page 1 of 1
Case Number: A-20-818664-C
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139 E. WARM SPRINGS BD,
LAS VEGAS, NEVADA 89118

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Case 2:20-cv-01892-KJD-DJA Document 1-1 Filed 10/09/20 Page 9 of 23

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JUSTIN W. SMERBER, ESO.

 

2 || Nevada Bar No, 10761

3. || BRANDON | SMERBER LAW FIRM
139 Hast Warm Springs

4 | Las Vegas, Nevada 89119
(702) 380-0007

> 1] (702) 380-2964— facsimile
g || ismerber@bsnv law
Attorneys for Plaintiff,

7 || JEAN KING

DISTRICT COURT
8 CLARK COUNTY, NEVADA
° JEAN KING, an individual,
10 CASE 'NO.: A-20-818664.C
Plaintiff, DEPT, NO.: 8
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i3 || SMITE?S FOOD & DRUG CENTERS, INC.
a/k/a, THE KROGER CO., a foreign corporation,
'4 || DOE EMPLOYEES I through X, and ROE
BUSINESS ENTITIES I through X, inclusive,

16 Defendants.

 

 

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Case 2:20-cv-01892-KJD-DJA Document 1-1 Filed 10/09/20 Page 10 of 23

AFFIDAVIT OF SERVICE
STATE OF NEVADA,
COUNTY OF CLARK

Jon Salisbury, being duly sworn says: That at all times herein affiant was and is over 18
years of age, not a party to nor interested in the proceedings in which this affidavit is
mace, That affiant received one copy of the SUMMONS, COM PLAINT, Case # A-20-
818684-C on the 17% day of August,2020 and served the same on the 19% day of
August,2020 at 1100 hrs.

By serving the Defendant SMITH'S FOOD & DRUG CENTERS, ING A/K/A KROGER
CO, by personally serving and leaving a copy with Kris (Authorized to Accept) for RA:
Corporation Service Company at 172 N. Curry St, Carson City, NV 89703.

i declare under penalty of perjury under the law-of the State of Nevada that the
‘foregoing is true and correct.

EXECUTED this 19th day of August,2020

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“chan Sal (Sku,

 

State of Nevada Print Name - Process Server’

County of Washoe ACES, PROCESS SERVICE LIC#100C
3829 Culpepper Dr,

Subscribed and Sworn to before me on Sparks, NV 89436

this 24 1" day {¥ He, 2020

 

 

 

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NOTARY PUBLIC
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SANDRA QUIDAY
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BRANDON | SMERBER
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DISTRICT COURT

   

EV ATA
| JEAN KING,
| CASE NO: A-20-818664-C
Plaintiif, DEPT, NO: 8
vw

SUMMONS
1 SMITH’S FOOD & DRUG CENTERS, ING,
| aka THE KROGER 17O., a foreign

Corporation, DOE EM 2LOYEES | through
X, and ROB BUSINESS ENTITIES |
through X, inclusive,

Defend ints,

NOTICE! YOU HAVE Bl 7EN SUED. THE COURT MAY DECIDE AGAINST YOU WITHOUT Your!
BEING HEARD UNLESS YOU RESPOND WITHIN 20 DAYS, READ THE-INFORMATION BELOW,

 

+ FO THE D EFENDANT: 4, Civil Complaint has been filed by the Plaintiff against yout for the rele? set forth ta tho|
1 Complaint.

SMITHS FOOD. & DRUG CENTERS, INC. AAC/A THE KROGER CO,
C/) CSC SERVICES OF NEVADA, INC.
2215-8 RENAISSANCE DRIVE
LAS VEGAS, NEVADA 89119

i, Ifyou intend to defend tus lawsuit, withie 26 days after this Summons is-served on you exelnsive of the day-of|

a. File with the Clerk -OF this Court, whose address is shown below, a formal written tespduse to the

i Complaint in. accordance wits therules of the Court:

b. Serve a copy of your Fesponse:tipon the attomey whose name-and address ig shown below.
| 2, Unless you respond, yo a-default will be entered upon application of the plaintiff and this Court may enter af
Judgment against you for the. clief demanded in the Complaint, wirich could result in the taking of money-or property
or Other relief requested in ths Complaint.

i 3. Ifyou intend to seck the advice-of an attorney in this matter, you shoal do-s0 nfomptiy:so that your Tesponse
vate

 

 

 

j Uiay be filed on time, ae
| oe STEVEND.GRIERSON
Issued Al direction off ax CLE TISOF D COURT -Ppwivenjencrone
one Fo ae PERT owas
Pie winayis a _ ~ MEE be Ae 18/10/2020
JUSTIN. WeSMERBER ES), RAPUTY LER, DATE:
1 Attorney for Plaintiff lisa~ aé. Chapmari
| BRANDON L-SMERBER LAW FIRM County Courthouse
139 East Warm Springs Road 200 Lowls Avenue
Las Vegas, Nevada 89119 Las Vegas, Nevada 89155
(702) 380-0007

| NOTE: When service iy by publication, adda brlef statement of the object of the action, See Rules of Civil

H Procedure, Rule 4¢h),

Page 1 of 2

 

 

 
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Case 2:20-cv-01892-KJD-DJA Document 1-1 Filed 10/09/20 Page 12 of 23

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Nevada Bar #001107

GREGORY A. KRAEMER

Nevada Bar #010911

COOPER LEVENSON, P.A.

3016 West Charleston Boulevard - #195
Las Vegas, Nevada 89102

(702) 366-1125

FAX: (702) 366-1857

 

 

 

 

 

 

 

jbusby@cooperlevenson.com
ckracmer(@cooperlevenson.com
Attorneys for Defendant
SMITH’S FOOD & DRUG CENTERS, INC,
DISTRICT COURT
CLARK COUNTY, NEVADA
JEAN KING, an individual, CASENO.: A-20-818664-C
DEPT. NO.: VILL

Plaintiff,
VS.
SMITH’S FOOD & DRUG CENTERS, INC. DEFENDANT SMITH’S FOOD & DRUG
a/k/a THE KROGER CO., a foreign CENTERS, INC.’S ANSWER TO
corporation, DOE EMPLOYEES I through X, PLAINEIFE’S COMPLAINT
and ROE BUSINESS ENTITIES I through X,
inclusive,

Defendants,

COMES NOW, Defendant, SMITH’S FOOD & DRUG CENTERS, INC., improperly designated

as SMITH’S FOOD & DRUG CENTERS, INC. a/k/a THE SROGER CO., by and through tts attorney
of record, JERRY 8S. BUSBY, ESQ., of the law firm COOPER LEVENSON, P.A., and hereby answers
Plaintiff's Complaint on file herein as follows:
L

This answering Defendant states that it does not have sufficient knowledge or information
upon which to base a belief as to the truth of the allegations contained in Paragraphs 1, 2 and 5 of
Plaintiff's Complaint and. upon said ground, denies each and every allegation contained therein.
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CLAC 5854412.1

Case Number: A-20-818664-C

 
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Case 2:20-cv-01892-KJD-DJA Document 1-1 Filed 10/09/20 Page 13 of 23

Ti.

In response to Paragraph 3 of Plaintiff's Complaint, this answering Defendant admits that it
is a foreign corporation, duly licensed to conduct business in the State of Nevada. This answering
Defendant denies any remaining allegations contained in said Paragraph.

II.

In response to Paragraph 4 of Plaintiff's Complaint, this answering Defendant admits that it
owned, operated, maintained and managed the SMITH’S store. This answering Defendant denies
any remaining allegations contained in said Paragraph.

IV.

Paragraph 6 of Plaintiff's Complaint states a legal conclusion which is the sole province of the

Court to determine, This answering Defendant therefore denies said Paragraph.
V.

This answering Defendant, in response to Paragraph 7 of that portion of Plaintiff's Complaint
entitled “FACTS”, incorporates herein by reference each and every answer previously alleged to the
Paragraphs which the Plaintiff has realleged by incorporation.

Vi

This answering Defendant states that it does not have sufficient knowledge or information
upon which to base a belief as to the truth of the allegations contained in Paragraphs 8, 9, 10, 11, 13,
14, 15, 16, 19 and 21 of that portion of Plaintiff's Complaint entitled “FACTS” and upon said
pround, denies each and every allegation contained therein.

VIE.

In response to Paragraph 12 of that portion of Plaintiff?s Complaint entitled “FACTS”, this
answering Defendant admits it owned, managed and controlled the SMITH’S store in question. This
answering Defendant denies any remaining allegations contained in said Paragraph.

Vill.

Paragraph 17 of that portion of Plaintiffs Complaint entitled “FACTS” states a legal conclusion

which is the sole province of the Court to determine. This answering Defendant therefore denies said

Paragraph.

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IX.

This answering Defendant denies each and every allegation contained in Paragraphs 18 and

20 of that portion of Plaintiff's Complaint entitled “FACTS”.
Xx,

This answering Defendant, in response to Paragraph 22 of that portion of Plaintiff's Complaint
entitled “FIRST CAUSE OF ACTION Negligence”, incorporates herein by reference each and every
answer previously alleged to the Paragraphs which the Plaintiff has realleged by incorporation.

XI.

In response to Paragraph 23 of that portion of Plaintiff?s Complaint entitled “FIRST CAUSE
OF ACTION Negligence”, this answering Defendant admits that it operated, controlled and
maintained the store on September 23, 2018. This answering Defendant denies any remaining
allegations contained in said Paragraph,

XU.

Paragraphs 24 and 26 of that portion of Plaintiff's Complaint entitled “FIRST CAUSE OF
ACTION Negligence” state a legal conclusion which is the sole province of the Court to determine.
This answering Defendant therefore denies said Paragraphs.

XU,

This answering Defendant denies each and every allegation contained in Paragraphs 25 and

29 of that portion of Plaintiff's Complaint entitled “FIRST CAUSE OF ACTION Negligence”.
XTY,

This answering Defendant states that it does not have sufficient knowledge or information
upon which to base a belief as to the truth of the allegations contained in Paragraphs 27, 28 and 30 of
that portion of Plaintiff's Complaint entitled “FERST CAUSE OF ACTION Negligence” and upon
said ground, denies each and every allegation contained therein.

XV.

This answering Defendant, in response to Paragraph 31 of that portion of Plaintiff's Complaint

entitled “SECOND CAUSE OF ACTION Premises Liability”, incorporates herein by reference each

and every answer previously alleged to the Paragraphs which the Plaintiff has realleged by

CLAC 3854412,1

 
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Case 2:20-cv-01892-KJD-DJA Document 1-1 Filed 10/09/20 Page 15 of 23

incorporation.
AVI

This answering Defendant states that it does not have sufficient knowledge or information
upon which to base a belief as to the truth of the allegations contained in Paragraphs 32, 37, 38 and
AO of that portion of Plaintiff's Complaint entitled “SECOND CAUSE OF ACTION Premises
Liability” and upon said ground, denies each and every allegation contained therein.

XVI.

Paragraphs 33 and 34 of that portion of Plaintiffs Complaint entitled “SECOND CAUSE OF
ACTION Premises Liability” state a legal conclusion which is the sole province of the Court to
determine. This answering Defendant therefore denies said Paragraphs.

XVIII.

This answering Defendant denies each and every allegation contained in Paragraphs 35, 36
and 39 of that portion of Plaintiffs Complaint entitled “SECOND CAUSE OF ACTION Premises
Liability”.

AFFIRMATIVE DEFENSES
FIRST AFFIRMATIVE DEFENSE

Plaintiff did not use reasonable diligence to care for her injuries, thereby aggravating said injuries
as aresult, Therefore, Plaintiffs claims against this answering Defendant should be denied, or any
recovery reduced in proportion to said negligence of Plaintiff.

SECOND AFFIRMATIVE DEFENSE

At the time and place alleged in Plaintiffs Complaint, and for a period of time prior thereto,
Plaintiff did not exercise ordinary care, caution, or prudence for the protection of her own safety, and
injuries and damages complained of by Plaintiff in the Complaint, ifany, were directly and proximately
caused or contributed to by the fault, failure to act, carelessness, and negligence of Plaintiff, and
therefore Plaintiff’s claims against this answering Defendant should be denied, or any recovery reduced
in proportion to said negligence of Plaintiff.
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ffi

CLAC 5854412.1

 
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Case 2:20-cv-01892-KJD-DJA Document 1-1 Filed 10/09/20 Page 16 of 23

WHEREFORE, this answering Defendant prays that Plaintiff take nothing by virtue of her
Complaint on file herein; for costs and disbursements incurred in this action; and for such other and
further relief as to the Court may deem proper.

Dated this 8th day of September, 2020.

COOPER LEVENSON, P.A.

By /s/ Jerry S. Busby
Jerry 5. Busby
Nevada Bar No. 001107
Gregory A. Kraemer
Nevada Bar No, 010911
3016 West Charleston Boulevard - #195
Las Vegas, Nevada 89102
Atiorneys for Defendant
SMITH’S FOOD & DRUG CENTERS, INC,

CLAC 58544121

 
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Case 2:20-cv-01892-KJD-DJA Document 1-1 Filed 10/09/20 Page 17 of 23

CERTIFICATE OF SERVICE

Pursuant to NRCP 5(b), I certify that ] am an employee of COOPER LEVENSON, P.A, and
that on this 8th day of September, 2020, I did cause a true copy of the foregoing DEFENDANT
SMITH’S FOOD & DRUG CENTERS, INC.’S ANSWER TO PLAINTIFF'S COMPLAINT
to be served upon each of the parties listed below via electronic service through the Eighth Judicial
District Court’s Odyssey E-File and Serve System:

Justin W. Smerber, Esq.

BRANDON | SMERBER LAW FIRM

139 East Warm Springs Road

Las Vegas, NV 89119
Attorneys for Plaintiff

By  /s/ Theresa H. Rutkowski
An Employee of
COOPER LEVENSON, P.A.

 

CLAC 5854412. |

 
Case 2:20-cv-01892-KJD-DJA Document 1-1 Filed 10/09/20 Page 18 of 23

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1 | ABREA

JUSTIN W. SMERBER, ESQ.
* |i Nevada Bat No. 10761

3 || BRANDON | SMERBER LAW FIRM
139 East Warm Springs

4 || Las Vegas, Nevada 89119

(702) 380-0007

> |] (702) 380-2964-- facsimile

¢ | Lsmerber@bsnv law

Attorneys for Plaintiff,

7. | JEAN KING

    

DISTRICT COURT
8 CLARK COUNTY, NEVADA

JEAN KING, an individual,
10 CASE NO.: A-20-818664-C
Plaintiff, DEPT. NO,: §

¥. 702.380.0007 | F. 708.380.0004

189 FE. WARM SPRINGS RD.
LAS VEGAS, NEVADA S01id

¥5.

13. || SMITH’S FOOD & DRUG CENTERS, INC,
a/k/a THE KROGER CO., a foreign corporation,
14 || DOR EMPLOYEES | through X, and ROE
BUSINESS ENTITIES I through X, inclusive,

16 Defendants.

 

 

PETITION FOR EXEMPTION FROM ARBITRATION

LAW FIRM

ON | SMERBER

Plaintiff, JEAN KING, hereby requests the above entitled matter be exempted from

 

19
30 Arbitration pursuant to Nevada Arbitration Rules 3 and 5, as this case:
a1 4 I, presents a significant issue of public policy;
22 2. & involves an amount in issue in excess of $50,000, exclusive of interest and
23 cost:
24 . . . .
3. ~~ presents unusual circumstances which constitute good cause for removal
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from the program.
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Case Number: Rage pout
LAS VEGAS, NEVADA 89119
YT. 702.380.0007 | FL 7Oo880. 2064

18d E. WARM SPRINGS RD.

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LAW FIRM

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POINTS AND AUTHORITIES

1.
FACTS

 

This matter arose from a personal injury incident occurring on or about September 23,
2018 as the result of a slip and fall. On said date, Plaintiff, JEAN KING was a lawful visitor at
Horizon Market Place-Savith’s (“Smith’s”), located at 10616 S. Eastern Avenue, Henderson, NV
89052. As Plaintiff proceeded through the Smith’s she suddenly slipped and fell on a grape. The
fall caused Plaintiff to land violently on her outstretched arm, which resulted in severe injury to
her entire right upper extremity, There were no warning or hazard notices posted in the area off
the store where the Plaintiff fell. See Complaint on Jile herein, Defendant, SMITH’S FOOD &

DRUG CENTERS, INC. a/k/a THE KROGER CO., owed Plaintiff a duty of reasonable care to

‘maintain the floor at Smith’s in a reasonably safe condition, Defendant breached this duty by

allowing a substance or hazardous condition to be present on the floor without warning or notice.
see Id. A Complaint was filed on July 28, 2020,

As a direct and proximate result of the September 23, 2018 incident, JEAN KING has lost
time from her employment, has suffered and will continue to suffer a loss of earning vapacity,
serious and disabling injuries in and about her left arm, shoulder and hand affecting her both
physically and mentally and resulting in a loss of nature and enjoyment of life.

U.
COMPUTATION OF DAMAGES

Pursuant to Nevada Arbitration Rules (NAR) 5, this case should be exempted from

|| Arbitration as this case involves an amount in excess of $50,000. As is illustrated below, Ms.

King’s medical expenses to date total $143,150.25.
As a result of the Defendant’s negligence, Plaintiff has suffered substantial personal

injuries. Ms. King’s injuries included a rotator cuff tear of the right shoulder, right wrist strain,

Page 2 of 4

 
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LAW FIRM

BRANDON | SMERBER

Case 2:20-cv-01892-KJD-DJA Document 1-1 Filed 10/09/20 Page 20 of 23

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and right bicep tendinitis. As a result, Ms, King suffered significant pain and required surgery
and extensive rehabilitation in order to cope with daily activities, Ms. King’s personal life has
been disrupted on a daily basis as she was constantly attending doctor’s appointments, physical

therapy, and other medically mandated treatment, In the future, Ms. King will continue to endure

pain and the effects of the injuries caused by the Defendant's negligence.

Ms. King’s current Medical Specials are as follows:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Page 3 of 4

Provider Amount
Ll. | Southwest Medical Associates $868.00
2.__| Nevada Orthopedic & Spine Center $248.00
3. | ATI Physical Therapy $2,281.74
4. | Desert Orthopedic Center $943.00
3. _| Kelly Hawkins Physical Therapy $4,498.00
6. | Bone & Joint Specialists $15,440.00
7. | Hand Center of Nevada $7,138.01
8. | Centennial Hills Medical Hospital $64,689.20
9, {| Desert Springs Hospital $44,098.00.
10. | Steinberz Diagnostic Medical Imaging $2,946.30
TOTAL $143,150.25

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il.
CONCLUSION

Based on the foregoing, Plaintiff, JEAN KING respectfully requests that this Honorable
Court grant Plaintiff's Request for Exemption from Arbitration. |
I hereby certify pursuant to N.R.C.P. Rule 11, this case to be within the exemptions
marked above and am aware of the sanctions which may be imposed against any attorney or party
who without good cause or justification aitempts to remove a case from the Arbitration Program.

DATED this 8" day of September 2020,

 

BRANDON | SMERBER LAW FIRM

/s Jugtin W W, Smerbal Rar:
JUSTIN W, SMERBER, ESO.
Nevada Bar No. 10761

139 E, Warm Springs Road

Las Vegas, Nevada 89119
Attorneys for Plaintiff,

JEAN KING

CERTIFICATE OF SERVICE
Pursuant to Nev. R. Civ, P. $(b), I certify that on September { , 2020, I served a true
and correct copy of the foregoing PETITION FOR EXEMPTION FROM ARBITRATION

through the Court’s ECF electronic filing system:

JERRY S. BUSBY

Nevada Bar #001107
GREGORY A. KRAEMER
Nevada Bar #010911
COOPER LEVENSON, P.A.

3016 West Charleston Boulevard - #195
Las Vegas, Nevada 89102

(702) 366-1125

FAX: (702) 366-1857

gkracer(@eooperlevenson.com
Attormeys for Defendant
SMITH’S FOOD & DRUG CENTERS, INC.
ist: Angeling M. Martinez
An Employee of Brandon | Smerber Law Firm

 

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DISTRICT COURT
2
CLARK COUNTY, NEVADA

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4 |I Jean King, Plaintiffs)
” Ws, CASE NO: A-20-818664-C
6 DEPT. NO: VIII

Smith's Food & Drug Centers, Inc.,,
7

Defendant(s)
8
° COMMISSIONER’S DECISION ON REQUEST FOR EXEMPTION

10

11 |] REQUEST FOR EXEMPTION FILED ON: September 10, 2020

12 || EXEMPTION FILED BY: _ Plaintiff OPPOSITION: ___No
13
14 DECISION

15

16 Having reviewed the Request for Exemption, and all related pleadings, the Request

17 VI for Exemption is hereby GRANTED,
18
19
20 DATED this 28" of September, 2020.
21

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34 ADR COMMISSIONER

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ADR
COMMISSIONER
RIGTUTH JUDICIAL
DISTRICT COURT

 

 

 

Case Number: A-20-818664-C
Cade 2:20-cv-01892-KJD-DJA Document 1-1 Filed 10/09/20 Page 23 of 23

1 NOTICE

2 || Pursuant to Nevada Arbitration Rule 5(D), you are hereby notified you have five (5) days
from the date you are served with this document within which to file written objections

3 || with the Clerk of Court and serve all parties. The Commissioner’s Decision is deemed
served three (3) days after the Commissioner’s designee deposits a copy of the Decision in
the U.S, Mail. Pursuant to NEFCR Rule 9(f)(2) an additional 3 days is not added to the
; || time if served electronically (via e-service).

6 A copy of the foregoing Commissioner’s Decision on Request for Exemption was
electronically served, pursuant to N.E.F.C.R. Rule 9, to all registered parties in the

7 Lighth Judicial District Court Electronic Filing Program on the date of e-filing.

8

If indicated below, a copy of the foregoing Commissioner’s Decision on Request for
Exemption was also:

10 C] Placed in the folder of counsel maintained in the Office of the Clerk of Court on
W , 2020.

12 L] Mailed by United States Postal Service, Postage prepaid, to the proper parties listed

below at their last known address(es) on , 2020,
13

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17 /s/ Lisa Kaba
ADR COMMISSIONER’S DESIGNEE

 

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ADR
COMMISSIONER
EIGHTH JUDICIAL
DISTRICT COURT

 

 

 
